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                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION

CRIMINAL NO.:      5:13-CR-50029-001          USA v. MARIA LUISA LIZARRAGA

COURT PERSONNEL:                              APPEARANCES:

Judge:      TIMOTHY L. BROOKS                 Govt.: Clay Fowlkes

Clerk: SHERI CRAIG                            Deft.: Ray Niblock

Reporter: DANA HAYDEN

                          SENTENCING MINUTE SHEET

      On this date the above named defendant appeared in person and with counsel for
sentencing and is sworn.

      (X)   Inquiry made that defendant is not under influence of alcohol or drugs and
            is able to comprehend proceedings.

      (X)   Inquiry made whether defendant is under the care of a physician or taking
            any medication and is able to comprehend proceedings.

      (X)   Inquiry made that defendant is satisfied with counsel.

      (X)   Court determined that defendant and counsel have had opportunity to read
            and discuss presentence investigation report.

      (X)   Presentence investigation report reviewed in open court.

      (X)   Court expresses final approval of plea agreement.

      (X)   Government moves for downward departure pursuant to 5K1.1 - granted by
            the court and 4-level departure awarded.

      (X)   Defendant moves for downward departure pursuant to 5H1.6 - denied by the
            court.

      (X)   Counsel for defendant afforded opportunity to speak on behalf of defendant.

      (X)   Defendant afforded opportunity to make statement and present information
            in mitigation of sentence.

      (X)   Attorney for government afforded opportunity to make statement to court.
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        (X)     Court proceeded to impose sentence as follows:

                41 months imprisonment; 2 years supervised release; $1,000.00 fine
                imposed - interest waived.

        (X)     Defendant ordered to comply with standard conditions of supervised release.

        (X)     Defendant ordered to comply with the following special conditions of
                supervised release:

                1.    The defendant shall submit his person, residence, place of
                      employment, and vehicle to a search conducted by the United States
                      Probation Office at a reasonable time and in a reasonable manner
                      based upon reasonable suspicion that a violation of a condition of
                      supervised release might thereby be disclosed.

                2.    The defendant shall submit to inpatient or outpatient substance abuse
                      evaluation, counseling, testing, and/or treatment as deemed
                      necessary and as directed by the U.S. Probation Officer.

        (X)     Defendant ordered to pay total special assessment of $100.00, which shall
                be due immediately.

        (X)     Defendant advised of right to appeal sentence imposed.

        (X)     Defendant advised of right to apply for leave to appeal in forma pauperis.

        (X)     Defendant remanded to custody of USMS.


DATE:           April 16, 2014                                  Proceeding began: 10:04 am

                                                                          ended: 11:23 am
